1     TERRY A. DAKE, LTD.
      20 E. Thomas Rd.
2     Suite 2200
      Phoenix, Arizona 85012-3133
3     Telephone: (602) 710-1005
      tdake@cox.net
4
      Terry A. Dake - 009656
5
      Attorney for Trustee
6
                            IN THE UNITED STATES BANKRUPTCY COURT
7
                                 FOR THE DISTRICT OF ARIZONA
8
      In re:                               )      In Chapter 7 Proceedings
9                                          )
      WILLIAM JAY ADLER,                   )
10    TRUDI BARBARA ADLER,                 )      Case No. 2:17-BK-01813-MCW
                                           )
11                             Debtors.    )
                                           )
12
                         FIRST AND FINAL APPLICATION FOR
13                        ALLOWANCE OF COMPENSATION AND
                        REQUEST TO NOTICE WITH FINAL REPORT
14
                 TERRY A. DAKE, LTD. ("Applicant"), counsel for the Chapter 7
15
      trustee   (hereinafter        "Trustee"),     submits     its     First    And    Final
16
      Application     For    Allowance    Of    Compensation.     In     support   of     this
17
      Application, TERRY A. DAKE, LTD. submits its billing statements which
18
      are attached as Exhibit A.               Applicant's expense statements, which
19
      itemize expenses by type and month for the same period are included as
20
      a part of Exhibit A.
21
      I.   NARRATIVE SUMMARY
22
           A.   Background
23
                 1.    The debtors filed a voluntary petition under Chapter 7.
24
      The case is pending under Chapter 7.
25
                 2.     Applicant's       employment   as     counsel    for    Trustee    was
26
      approved by Order of this Court dated April 25, 2017.                TERRY A. DAKE,
27
      LTD. has served as counsel for the Trustee up to and through the filing
28


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1     of this Application.      TERRY A. DAKE, LTD. was employed by the Trustee
2     to perform necessary services with the understanding that Applicant's
3     compensation would be determined by the Court under the criteria set
4     forth in 11 U.S.C. §330 of the Bankruptcy Code.             This is Applicant's
5     first and final application for compensation.           Based upon Applicant's
6     ordinary hourly rates in effect at the time the services were rendered,
7     Applicant's total fees are $30,975.00.           Of the total fees requested
8     herein, $525.00 relates to the time expended preparing, reviewing and
9     consulting with the client regarding the Application and is not yet
10    reflected in the balance of fees and costs shown on the most recent
11    billing statement attached to this Application.             In addition to the
12    foregoing,    Applicant    incurred     out-of-pocket     expenses    for    which
13    Applicant is seeking reimbursement as follows:
14                     a.     Filing Fee/Cost Adv.         $1,170.20
15                                        Total            $1,170.20
16
      Therefore, the total award sought, including fees requested for time
17
      expended preparing, reviewing and consulting with the client regarding
18
      the Application which are not yet reflected in the balance of fees and
19
      costs shown on the most recent billing statement attached to this
20
      Application, is $32,145.20.
21
                 3. The services for which compensation is requested were
22
      rendered on behalf of the Trustee and compensation is sought pursuant
23
      to 11 U.S.C. §§330(a), 331 and 503(a) and (b), Rule 2016(a), Fed. R.
24
      Bankr. P., and in compliance with the order appointing counsel and the
25
      Guidelines of the Office of the United States Trustee for the District
26
      of Arizona ("Guidelines").
27

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1                4.     Except     as    Applicant          may    be    entitled   to    receive
2     compensation herein, and except as set forth herein, Applicant has no
3     arrangements with any other parties whatsoever to pay Applicant for the
4     services of Applicant to the estate, nor has Applicant received any
5     funds from any parties whatsoever for the services rendered on behalf
6     of the estate.     Further, Applicant has not made any arrangement to
7     share any compensation received by order of this Court with any party
8     whatsoever, nor does Applicant have any arrangements for the sharing
9     of any compensation hereinafter awarded, except as between members
10    and/or regular associates of Applicant's firm.                    TERRY A. DAKE, LTD. has
11    no agreement to share compensation received or to be received with any
12    person other than the normal division of fees that, as a matter of
13    course, occurs between attorneys who are members of Applicant's law
14    firm.   The members of TERRY A. DAKE, LTD. are disinterested persons as
15    defined in 11 U.S.C. §101(14) and do not hold or represent any interest
16    adverse to the estate.
17               5.    The    names     of   all       of   Applicant's     professionals        and
18    paraprofessionals requesting fees and the hourly rate charged by each
19    is as follows:
20         Attorney/Paraprofessional                        Rate    2011-2018
21         Terry A. Dake, Esq.                                $350.00
22    Mr. Dake has     practiced      bankruptcy        law    exclusively     since     1988 and
23    practiced a mixture of bankruptcy law and litigation for the five years
24    prior to 1988.     Practitioners with at least ten years of experience
25    primarily in the bankruptcy field in the Phoenix metropolitan area bill
26    at a rate equal to or greater than the $350.00 charged by Mr. Dake.
27

28                                                 3


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1     The rates charged by the professionals in this case are the same rates
2     the firm charges non-bankruptcy clients.
3                6.   TERRY A. DAKE, LTD. has not received from the Trustee any
4     previous payments for services rendered or to be rendered in any
5     capacity whatsoever in connection with the case.
6                This Application is not filed less than 120 days after the
7     order for relief or after the last prior application for allowance of
8     fees.
9          B.   Case Status
10               1.   Applicant is not aware of other requests for compensation
11    and reimbursement of costs filed by any party which are currently
12    pending before this Court.
13               2.   As of the date of this Application, TERRY A. DAKE, LTD.
14    is not aware of any accrued, unpaid administrative expenses other than
15    those applied for herein with the exception of the fees and expenses
16    of the trustee and costs owed to the Court.
17               3.    The    Trustee   anticipates    that   this   case   will   close
18    approximately May 31, 2019.       Applicant is seeking a final award of fees
19    and costs and believes that it is feasible to make this distribution
20    at this time without prejudicing the rights of any creditor holding a
21    claim of equal or higher priority.
22

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1          C.     Project Summary
2                  1.   History and status of bankruptcy case
3                  A voluntary petition under Chapter 7 of the United States
4     Bankruptcy Code was filed commencing the above-captioned case.                    This
5     case is currently pending before this Court as a case under Chapter 7.
6                  2.    Summary of legal services            performed   by     Applicant
                         according to project
7

8                        A. Fee/Employment Applications
9                  Applicant has performed the following services:
10                 Preparation   of   the    pleadings   to   retain   counsel    for    the
11    trustee and the first and final fee application filed in this matter.
12                 The following table summarizes the number of hours spent (or
13    advanced in the preparation of this Application) and the amount of
14    compensation requested for each professional and paraprofessional for
15    the foregoing project:
16
           Name                             Billing Rate      Time             Compensation
17
      Terry A. Dake, Esq.                   $350.00           1.80             $630.00
18
      TOTAL:                                                                   $630.00
19
                         B. Case administration
20
                   Applicant has performed the following services:
21
                   Applicant assisted the trustee in the duties necessary to
22
      carry out the administration of the estate including locating and
23
      assisting in the recovery of assets and records, examining the debtors’
24
      financial affairs and assisting in the recovery and sale of estate
25
      assets.
26
                   The current status of the foregoing project is - complete.
27

28                                              5


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1                  The following table summarizes the number of hours spent and
2     the   amount    of     compensation    requested     for     each   professional    and
3     paraprofessional for the foregoing project:
4
            Name                            Billing Rate         Time            Compensation
5

6     Terry A. Dake, Esq.                   $350.00              19.50           $6,825.00
7     TOTAL:                                                                     $6,825.00
8                          C. Trustee v. Adler
9                  Applicant has performed the following services:
10                 Applicant assisted the trustee in investigating and filing
11    an adversary proceeding to deny the discharge of the debtors.                       The
12    matter was settled at the urging of the Court and the agreed amount was
13    paid to the trustee.
14                 The current status of the foregoing project is - completed.
15                 The following table summarizes the number of hours spent and
16    the amount of compensation requested for each professional for the
17    foregoing project:
18
            Name                            Billing Rate         Time            Compensation
19
      Terry A. Dake, Esq.                   $350.00              25.10           $8,785.00
20

21    TOTAL:                                                                     $8,785.00
22
                           C. Trustee v. Goldstein
23
                   Applicant has performed the following services:
24
                   Applicant assisted the trustee in investigating and filing
25
      an adversary proceeding to avoid a transfer of property made by the
26

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1     debtors.      The matter was settled at the urging of the Court and the
2     agreed amount was paid to the trustee.
3                   The current status of the foregoing project is - completed.
4                   The following table summarizes the number of hours spent and
5     the amount of compensation requested for each professional for the
6     foregoing project:
7
             Name                          Billing Rate      Time               Compensation
8
      Terry A. Dake, Esq.                  $350.00           42.10              $14,735.00
9

10    TOTAL:                                                                    $14,735.00
                         D.   Summary Of Costs
11
                    The majority of the costs in this case are attributable to
12
      photocopy charges, postage, noticing materials, fee advances and PACER
13
      Service fees.
14
                    The amount charged by       Applicant for photocopies is $0.25 per
15
      sheet for noticings only.        All costs from outside parties, such as UPS,
16
      mail, and parking are charged at Applicant's actual cost.
17
                    The amount Applicant has disbursed for actual and necessary
18
      expenses in connection with the estate are itemized on the attached
19
      Exhibit A.
20
      II.    EVALUATING STANDARDS
21
                    In accordance with 11 U.S.C. §330, the amount applied for was
22
      calculated using the hourly rate for the attorneys involved.                 See, In
23
      re Yermakov, 718 F.2d 1465, 1471 (9th Cir. 1983) ("The primary method
24
      used to determine a reasonable attorneys' fee in a bankruptcy case is
25
      to multiply the number of hours expended by an hourly rate").                This has
26
      also   been    referred   to   as   the   "lodestar"   or   basic   fee   which,    if
27

28                                                7


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1     warranted, can be adjusted upward or downward.                 In that regard, the
2     Ninth Circuit     in    Yermakov made    specific      references    to   Johnson v.
3     Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974),
4     in which the Fifth Circuit listed twelve factors which should be
5     considered in awarding attorneys' fees.              These "Johnson factors" have
6     been   referred   to    and   utilized   by   many    courts   in   considering    and
7     awarding attorneys' fees in bankruptcy cases.                  See, In re Nucorp
8     Energy, Inc., 764 F.2d 655 (9th Cir. 1985).
9                In a decision of the Ninth Circuit Bankruptcy Appellate
10    Panel, the Panel concluded that the "lodestar" approach, coupled with
11    consideration of the "Johnson factors" is the appropriate standard to
12    be applied in awarding fees in a bankruptcy case.              See, In re Powerline
13    Oil Co., 71 B.R. 767 (Bankr. 9th Cir. 1986).
14               In addition, the provisions of §330(a) place a premium on the
15    timeliness of administration of the case.              Compensable services must
16    be ". . . performed within a reasonable amount of time commensurate
17    with the complexity, importance and nature of the problem, issue or
18    task addressed."       11 U.S.C. §330(a)(3)(A).
19               TERRY A. DAKE, LTD. has advised the Trustee in connection
20    with the administration of the estate on an ongoing basis and has
21    prepared numerous letters, documents and/or other writings concerning
22    same and has attended conferences and/or hearings and/or made other
23    appearances for and on behalf of the Trustee and has performed numerous
24    legal services for and on behalf of the Trustee, which are itemized on
25    the attached Exhibit A constituting a recapitulation of TERRY A. DAKE,
26    LTD.'s time records concerning the above-entitled estate.
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1                 TERRY   A.   DAKE,   LTD.   has   maintained     daily   time   records
2     reflecting the actual and necessary time expended in the performance
3     of the services for which compensation is sought.             These time records
4     are presented as a resume of the overall services performed by TERRY
5     A. DAKE, LTD. and do not purport to include each and every service
6     performed, nor are they represented to constitute a limit of the time
7     expended in this case, as there may be services for which time was not
8     recorded.    However, the records do indicate the general nature of the
9     services performed and the time actually expended for consideration as
10    one of the criterion set forth in 11 U.S.C. §330.
11                The results obtained by Applicant within the time frames of
12    this Application illustrate that the Applicant:
13                1.   Used the skill required to perform the legal services
14    properly;
15                2.   Provided services necessary to the administration of the
16    case; and
17                3.   Performed the services within a reasonable amount of time
18    commensurate with the complexity, importance and nature of each task.
19                Furthermore, based upon the results obtained by Applicant
20    within the time frame of this Application and the rates charged by the
21    Applicant for the services performed, the compensation requested is
22    reasonable based on the customary compensation charged by comparably
23    skilled practitioners in non-bankruptcy cases.
24                Applicant    is   seeking   payment   out   of   unencumbered    estate
25    assets as an administrative expense.
26

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1                   There are no cash collateral issues regarding the source of
2     funds from which Applicant intends to be paid.
3                   The current status of this Chapter 7 case is that the Trustee
4     is preparing his final report and distribution.
5     III.   CONCLUSION
6                   WHEREFORE, TERRY A. DAKE, LTD. prays that this Application be
7     noticed with the Trustee's Final Report to all creditors, and that
8     TERRY A. DAKE, LTD. be awarded final payment, pursuant to 11 U.S.C.
9     §331, as attorney for the Trustee in the amount of $30,975.00 together
10    with reimbursement for actual and necessary costs expended in the
11    amount   of    $1,170.20,   all   subject    to   review   and   adjustment   as   to
12    reasonableness based on the criteria set forth in 11 U.S.C. §330 and
13    for such other and further relief as the Court deems equitable.
14                  DATED January 12, 2019.
15                                 TERRY A. DAKE, LTD.
16                                 By /s/ TD009656
                                     Terry A. Dake
17                                   20 E. Thomas Rd.
                                     Suite 2200
18                                   Phoenix, Arizona 85012-3133
                                     Attorney for Trustee
19

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1
                              DECLARATION OF TERRY A. DAKE
2
                 I, TERRY A. DAKE, do hereby declare as follows:
3
                 1.   I have given this Fee Application to the trustee, by whom
4
      I am employed.
5
                 2.   The trustee has reviewed the Fee Application.
6
                 3.    The trustee has conveyed to me his approval of the Fee
7
      Application and has expressed no objections to the Fee Application to
8
      me or to any other member of my law firm.
9
                 DATED January 12, 2019.
10

11
                                    /s/ TD009656
12                                 TERRY A. DAKE
13

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1                                 DECLARATION OF CLIENT
2                I declare as follows:
3                1.    I have been given this Fee Application by Terry A. Dake
4     of the law firm of TERRY A. DAKE, LTD.
5                2.    I have reviewed the Fee Application.
6                3.    I   have   approved    the   Fee   Application    and     have   no
7     objections to the Fee Application.
8                DATED January 12, 2019.
9

10                     Robert A. MacKenzie, Trustee
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            E     X      H    I     B     I     T             A




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1     TERRY A. DAKE, LTD.
      20 E. Thomas Rd.
2     Suite 2200
      Phoenix, Arizona 85012-3133
3     Telephone: (602) 710-1005
      tdake@cox.net
4
      Terry A. Dake - 009656
5
      Attorney for Trustee
6
                             IN THE UNITED STATES BANKRUPTCY COURT
7
                                   FOR THE DISTRICT OF ARIZONA
8
      In re:                                  )       In Chapter 7 Proceedings
9                                             )
      WILLIAM JAY ADLER,                      )
10    TRUDI BARBARA ADLER,                    )       Case No. 2:17-BK-01813-MCW
                                              )
11                              Debtors.      )
                                              )
12
                                FEE APPLICATION SUMMARY
13    NAME OF APPLICANT:
      TERRY A. DAKE, LTD.
14
      ROLE IN CASE:
15    Attorney for Trustee

16    CURRENT APPLICATION:
      Fee Request: $30,975.00
17    Expense Request: $1,170.20

18    Fees Previously Requested:              None
      Fees Previously Awarded:                None
19    Expenses Previously Requested:           None
      Expenses Previously Awarded:            None
20    Retainer Paid:                           None
      Draws On Retainer:                      N/A
21    Replenishment of Retainer:              N/A
      Remaining Retainer:                     N/A
22
      NAME OF PROFESSIONAL             ADMITTED       HOURS     RATE       TOTAL
23
      Terry A. Dake (TAD)              1983           88.5      $350.00   $30,975.00
24
                                           Total: 88.5           Total:   $30,975.00
25
                                       Blended Rate: $350.00
26

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                                          TERRY A. DAKE, LTD.
                                                20 E. Thomas Rd.
                                                   Suite 2200
                                             Phoenix, AZ 85012-3133


Robert A. MacKenzie,Trustee
2001 E. Campbell Ave.
Suite 200
Phoenix, AZ 85016

January 12, 2019

In Reference To:     William & Trudi Adler



                   Professional Services

                                                                                Hrs/Rate        Amount

                   Applications Fees / Employment

 4/25/2017 Prepare, file and serve retention pleadings.                               0.30          105.00
           Applications Fees / Employment                                           350.00/hr


            SUBTOTAL:                                                           [     0.30          105.00]

                   Case Administration

 4/25/2017 Conference with trustee re case and issues.                                0.10           35.00
           Case Administration                                                      350.00/hr

            Obtain and review current docket and filed pleadings.                     0.30          105.00
            Case Administration                                                     350.00/hr

            Prepare and file 2004 motion and order re piano lien.                     0.30          105.00
            Case Administration                                                     350.00/hr

            Prepare, file and serve motion to extend stay re piano.                   0.30          105.00
            Case Administration                                                     350.00/hr

            Prepare, file and serve objection to exemption of piano.                  0.30          105.00
            Case Administration                                                     350.00/hr

            Prepare memorandum to JK re debtor information.                           0.30          105.00
            Case Administration                                                     350.00/hr

            Review trustee's file.                                                    0.80          280.00
            Case Administration                                                     350.00/hr




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Robert A. MacKenzie,Trustee                                                                          Page     2




                                                                                          Hrs/Rate       Amount

 4/27/2017 Prepare correspondence re 2004 order.                                               0.10          35.00
           Case Administration                                                               350.00/hr

  5/2/2017 Prepare, file and serve motion to extend exemption deadline.                        0.20          70.00
           Case Administration                                                               350.00/hr

  5/6/2017 Review memorandum from SG and prepare response.                                     0.20          70.00
           Case Administration                                                               350.00/hr

  5/9/2017 Review memorandum from SG re lien release and prepare response.                     0.10          35.00
           Case Administration                                                               350.00/hr

            Review memorandum and documents from SG re piano lien and prepare response.        0.10          35.00
            Case Administration                                                              350.00/hr

 5/10/2017 Prepare avoidance stip and memorandum to SG re same.                                0.30         105.00
           Case Administration                                                               350.00/hr

 5/18/2017 Follow up with SG re stip.                                                          0.10          35.00
           Case Administration                                                               350.00/hr

            Review memorandum from JK re debtor information status.                            0.10          35.00
            Case Administration                                                              350.00/hr

 5/20/2017 Review and calendar claims bar date.                                                0.10          35.00
           Case Administration                                                               350.00/hr

 5/22/2017 Prepare certificate, order and notice regarding motion to extend stay.              0.30         105.00
           Case Administration                                                               350.00/hr

            Prepare certificate, order and notice regarding motion to extend exemption         0.30         105.00
            deadline.                                                                        350.00/hr
            Case Administration

 5/25/2017 Review memorandum from JK re piano lien and prepare response.                       0.10          35.00
           Case Administration                                                               350.00/hr

            Follow up with SG re stipulation.                                                  0.10          35.00
            Case Administration                                                              350.00/hr

 5/31/2017 Prepare memorandum to JK re turnover of piano.                                      0.10          35.00
           Case Administration                                                               350.00/hr

  6/1/2017 Telephone conference with trustee re issues and 727.                                0.10          35.00
           Case Administration                                                               350.00/hr




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                                                                                         Hrs/Rate       Amount

  6/1/2017 Prepare memorandum to trustee re outstanding issues and 727 deadline.              0.30         105.00
           Case Administration                                                              350.00/hr

           Prepare, file and serve motion to extend 727 deadline.                             0.30         105.00
           Case Administration                                                              350.00/hr

           Review debtor documents.                                                           0.50         175.00
           Case Administration                                                              350.00/hr

  6/2/2017 Review memorandum and piano photos and prepare memorandum to NC re                 0.20          70.00
           same.                                                                            350.00/hr
           Case Administration

  6/3/2017 Telephone conference with trustee re debtors' abandonment motion.                  0.10          35.00
           Case Administration                                                              350.00/hr

  6/6/2017 Review debtor abandonment motion.                                                  0.10          35.00
           Case Administration                                                              350.00/hr

  6/7/2017 Telephone conference with JK and BC re turnover of piano.                          0.10          35.00
           Case Administration                                                              350.00/hr

           Review memorandum from JK re piano, prepare response and prepare                   0.10          35.00
           memorandum to CAA.                                                               350.00/hr
           Case Administration

  6/9/2017 Telephone conference with BC re piano status.                                      0.10          35.00
           Case Administration                                                              350.00/hr

 6/12/2017 Conference with trustee and prepare memorandum to JK re sale of property.          0.10          35.00
           Case Administration                                                              350.00/hr

 6/15/2017 Telephone conference with Bob C. re piano and personal property and forward        0.10          35.00
           information re same.                                                             350.00/hr
           Case Administration

           Review exemptions and prepare memorandum to trustee re same.                       0.20          70.00
           Case Administration                                                              350.00/hr

           Prepare certificate, order and notice regarding piano exemption.                   0.20          70.00
           Case Administration                                                              350.00/hr

 6/16/2017 Review debtor redemption documents.                                                0.20          70.00
           Case Administration                                                              350.00/hr

 6/20/2017 Telephone conference with Bob C re sale.                                           0.10          35.00
           Case Administration                                                              350.00/hr




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                                                                                              Hrs/Rate       Amount

 6/20/2017 Prepare, file and serve sale notice and auction retention pleadings.                    0.40         140.00
           Case Administration                                                                   350.00/hr

            Prepare, file and serve motion to approve sale, motion to expedite order and           0.60         210.00
            notice re piano.                                                                     350.00/hr
            Case Administration

 6/23/2017 Review memorandum from court re expedited hearing and prepare response.                 0.10          35.00
           Case Administration                                                                   350.00/hr

            Prepare and file notice of expedited hearing.                                          0.20          70.00
            Case Administration                                                                  350.00/hr

            Serve sale hearing order and motion on Goldman and prepare and file certificate        0.20          70.00
            of mailing.                                                                          350.00/hr
            Case Administration

 6/26/2017 Prepare, file and serve objection to motion to expedite and lodged order re 727         0.30         105.00
           extension.                                                                            350.00/hr
           Case Administration

            Prepare, file and serve amended motion to extend 727 deadline.                         0.80         280.00
            Case Administration                                                                  350.00/hr

 6/27/2017 Prepare request for 341 transcript.                                                     0.10          35.00
           Case Administration                                                                   350.00/hr

 6/28/2017 Review Amex proofs of claim.                                                            0.10          35.00
           Case Administration                                                                   350.00/hr

 6/30/2017 Review BNC re sale hearing.                                                             0.10          35.00
           Case Administration                                                                   350.00/hr

            Review and calendar order for expedited hearing on 727 motion.                         0.10          35.00
            Case Administration                                                                  350.00/hr

  7/1/2017 Telephone conference with EB re 727 issues.                                             0.20          70.00
           Case Administration                                                                   350.00/hr

            Review debtor sale objection                                                           0.20          70.00
            Case Administration                                                                  350.00/hr

  7/5/2017 Prepare draft of sale reply.                                                            0.50         175.00
           Case Administration                                                                   350.00/hr

  7/7/2017 Finalize, file and serve reply re motion to extend 727 deadline.                        0.20          70.00
           Case Administration                                                                   350.00/hr




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                                                                                         Hrs/Rate       Amount

  7/7/2017 Prepare for and attend hearing on sale and motion to extend 727 deadline.          1.70         595.00
           Case Administration                                                              350.00/hr

 7/11/2017 Review proposed order re redemption of vehicle.                                    0.10          35.00
           Case Administration                                                              350.00/hr

 7/13/2017 Review 341.                                                                        0.30         105.00
           Case Administration                                                              350.00/hr

 7/14/2017 Review memorandum from trustee re 2016 tax returns, review file and prepare        0.10          35.00
           response.                                                                        350.00/hr
           Case Administration

 7/19/2017 Work on time line for litigation and assemble documents re same.                   1.60         560.00
           Case Administration                                                              350.00/hr

 7/26/2017 Review Toyota objection to redemption motion and prepare memorandum re             0.10          35.00
           same.                                                                            350.00/hr
           Case Administration

 7/28/2017 Conference with trustee re 727 issues.                                             0.20          70.00
           Case Administration                                                              350.00/hr

 7/31/2017 Follow up with JK re debtor information.                                           0.10          35.00
           Case Administration                                                              350.00/hr

            Prepare, file and serve motion to extend 727 deadline.                            0.20          70.00
            Case Administration                                                             350.00/hr

            Prepare, file and serve motion to amend MEO re 727 extension.                     0.30         105.00
            Case Administration                                                             350.00/hr

 8/16/2017 Prepare certificate, order and notice regarding motion to alter/amend.             0.20          70.00
           Case Administration                                                              350.00/hr

 8/22/2017 Prepare, file and serve sale report.                                               0.10          35.00
           Case Administration                                                              350.00/hr

            Finalize, file and serve auction payment pleadings.                               0.20          70.00
            Case Administration                                                             350.00/hr

 8/25/2017 Prepare certificate, order and notice regarding 727 extension.                     0.30         105.00
           Case Administration                                                              350.00/hr

            Review additional debtor documents and update time line.                          0.90         315.00
            Case Administration                                                             350.00/hr




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                                                                                       Hrs/Rate       Amount

  9/2/2017 Review stay relief motion re house.                                              0.10         35.00
           Case Administration                                                            350.00/hr

 9/16/2017 Review memorandum from UST re issues and prepare response.                       0.10         35.00
           Case Administration                                                            350.00/hr

 9/20/2017 Review Goldstein proof of claim, memorandum from trustee and prepare             0.10         35.00
           response.                                                                      350.00/hr
           Case Administration

 10/6/2017 Conference with trustee re status.                                               0.10         35.00
           Case Administration                                                            350.00/hr

            Review memorandum from JG re stay relief objection and prepare response.        0.10         35.00
            Case Administration                                                           350.00/hr

12/11/2017 Follow up with Jk re debtors' 2016 tax return.                                   0.10         35.00
           Case Administration                                                            350.00/hr

12/23/2017 Review memorandum and debtors 2016 tax returns and forward to trustee.           0.20         70.00
           Case Administration                                                            350.00/hr

 2/28/2018 Conference with trustee re status.                                               0.10         35.00
           Case Administration                                                            350.00/hr

 3/10/2018 Review memoranda from KA re turnover of sale proceeds and prepare                0.10         35.00
           memorandum re same.                                                            350.00/hr
           Case Administration

            Review memorandum from KA re surcharge and prepare response.                    0.10         35.00
            Case Administration                                                           350.00/hr

 3/22/2018 Telephone conference with trustee re status and deposition.                      0.10         35.00
           Case Administration                                                            350.00/hr

 4/25/2018 Review memorandum from JK re debtor documents and prepare response.              0.10         35.00
           Case Administration                                                            350.00/hr

  6/1/2018 Conference with trustee re status.                                               0.10         35.00
           Case Administration                                                            350.00/hr

 8/14/2018 Prepare memorandum to DP re sale hearing.                                        0.10         35.00
           Case Administration                                                            350.00/hr

 9/11/2018 Review memorandum from Lm re payoff status and prepare response.                 0.10         35.00
           Case Administration                                                            350.00/hr




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                                                                                             Hrs/Rate        Amount

           SUBTOTAL:                                                                         [    19.50          6,825.00]

                Trustee v. Adler

 7/31/2017 Telephone conference with trustee and finalize and file complaint and notice re         0.10            35.00
           filing fee.                                                                           350.00/hr
           Trustee v. Adler

           Work on draft of complaint and prepare memorandum to trustee.                           0.40           140.00
           Trustee v. Adler                                                                      350.00/hr

  8/3/2017 File request for issuance of summons.                                                   0.10            35.00
           Trustee v. Adler                                                                      350.00/hr

  8/6/2017 Work on service of summons and complaint and prepare and file certificate of            0.30           105.00
           mailing.                                                                              350.00/hr
           Trustee v. Adler

  9/5/2017 Review answer and prepare memorandum to trustee.                                        0.10            35.00
           Trustee v. Adler                                                                      350.00/hr

 10/7/2017 Prepare, file and serve Rule 26 disclosure and documents re same.                       0.50           175.00
           Trustee v. Adler                                                                      350.00/hr

10/17/2017 Follow up with JK re R26 disclosure.                                                    0.10            35.00
           Trustee v. Adler                                                                      350.00/hr

10/22/2017 Review memorandum and defense R26 disclosure and documents.                             0.50           175.00
           Trustee v. Adler                                                                      350.00/hr

 11/7/2017 Review and calendar order continuing hearing.                                           0.10            35.00
           Trustee v. Adler                                                                      350.00/hr

 2/27/2018 Follow up with JK re deposition.                                                        0.10            35.00
           Trustee v. Adler                                                                      350.00/hr

  3/2/2018 Prepare and serve deposition notices.                                                   0.20            70.00
           Trustee v. Adler                                                                      350.00/hr

  3/7/2018 Prepare for and attend status hearing.                                                  1.60           560.00
           Trustee v. Adler                                                                      350.00/hr

 3/22/2018 Prepare memorandum to JK re documents.                                                  0.10            35.00
           Trustee v. Adler                                                                      350.00/hr




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                                                                                         Hrs/Rate       Amount

 3/22/2018 Work on deposition materials.                                                      1.70          595.00
           Trustee v. Adler                                                                 350.00/hr

           Conduct deposition of TA.                                                          2.30          805.00
           Trustee v. Adler                                                                 350.00/hr

 4/11/2018 Follow up with JK re debtor information.                                           0.10           35.00
           Trustee v. Adler                                                                 350.00/hr

 5/22/2018 Follow up debtor information from deposition.                                      0.10           35.00
           Trustee v. Adler                                                                 350.00/hr

           Prepare memoranda to trustee re debtor documents.                                  0.10           35.00
           Trustee v. Adler                                                                 350.00/hr

           Review memorandum and debtor documents and prepare memorandum to JK re             1.10          385.00
           privilege.                                                                       350.00/hr
           Trustee v. Adler

  6/1/2018 Review email produced by debtors for additional disclosures.                       0.10           35.00
           Trustee v. Adler                                                                 350.00/hr

  6/4/2018 Work on response to admissions and prepare memorandum re same.                     1.10          385.00
           Trustee v. Adler                                                                 350.00/hr

  8/1/2018 Work on response to Motion for summary judgment and Statement of facts and         6.00         2,100.00
           prepare trustee declaration                                                      350.00/hr
           Trustee v. Adler

  8/2/2018 Conference with trustee and Finalize, file and serve response to motion for        0.50          175.00
           summary judgment and statement of facts.                                         350.00/hr
           Trustee v. Adler

           Work on revisions to brief, declaration and statement of facts and prepare         1.90          665.00
           memorandum to trustee re same.                                                   350.00/hr
           Trustee v. Adler

 8/18/2018 Review motion to strike and prepare memorandum re withdrawal of same.              0.10           35.00
           Trustee v. Adler                                                                 350.00/hr

 8/31/2018 Prepare, file and serve reply re XMSJ.                                             4.10         1,435.00
           Trustee v. Adler                                                                 350.00/hr

 10/8/2018 Prepare memorandum to JK re settlement.                                            0.20           70.00
           Trustee v. Adler                                                                 350.00/hr




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                                                                                           Hrs/Rate        Amount

10/22/2018 Prepare motion to approve settlement and memorandum re same.                          0.50           175.00
           Trustee v. Adler                                                                    350.00/hr

10/24/2018 Review memorandum from KA and Finalize, file and serve settlement motion              0.30           105.00
           and notice.                                                                         350.00/hr
           Trustee v. Adler

10/29/2018 Review BNC certificate of mailing re settlement.                                      0.10            35.00
           Trustee v. Adler                                                                    350.00/hr

10/30/2018 Review BNC certificate of mailing re settlement.                                      0.10            35.00
           Trustee v. Adler                                                                    350.00/hr

11/23/2018 Prepare certificate, order and notice regarding settlement.                           0.30           105.00
           Trustee v. Adler                                                                    350.00/hr

11/28/2018 Prepare memorandum re order and payment to trustee.                                   0.10            35.00
           Trustee v. Adler                                                                    350.00/hr

 1/11/2019 Prepare, file and serve dismissal order.                                              0.10            35.00
           Trustee v. Adler                                                                    350.00/hr


            SUBTOTAL:                                                                      [    25.10          8,785.00]

                 Trustee v. Goldstein

 7/19/2017 Assemble documents and prepare draft of complaint.                                    2.40           840.00
           Trustee v. Goldstein                                                                350.00/hr

 7/20/2017 Prepare memorandum to SG re summons and complaint and settlement.                     0.10            35.00
           Trustee v. Goldstein                                                                350.00/hr

            Finalize and file complaint and notice re filing fee and request summons.            0.30           105.00
            Trustee v. Goldstein                                                               350.00/hr

            Work on service of summons and complaint and prepare and file certificate of         0.30           105.00
            mailing.                                                                           350.00/hr
            Trustee v. Goldstein

 7/26/2017 Review memorandum from SG and revise stip and prepare memorandum re same.             0.20            70.00
           Trustee v. Goldstein                                                                350.00/hr

 8/22/2017 Review and calendar scheduling order.                                                 0.10            35.00
           Trustee v. Goldstein                                                                350.00/hr




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                                                                                            Hrs/Rate       Amount

 8/23/2017 Review and calendar notice of rescheduled hearing.                                    0.10          35.00
           Trustee v. Goldstein                                                                350.00/hr

 8/25/2017 Review memorandum from court and Prepare, file and serve notice of hearing.           0.20          70.00
           Trustee v. Goldstein                                                                350.00/hr

            Prepare, file and serve motion to disqualify counsel.                                0.80         280.00
            Trustee v. Goldstein                                                               350.00/hr

 9/11/2017 Review and calendar status hearing order.                                             0.10          35.00
           Trustee v. Goldstein                                                                350.00/hr

 9/15/2017 Prepare, file and serve reply re motion to DQ counsel.                                1.10         385.00
           Trustee v. Goldstein                                                                350.00/hr

 9/23/2017 Prepare discovery plan and memorandum re same.                                        0.20          70.00
           Trustee v. Goldstein                                                                350.00/hr

10/18/2017 Prepare for and attend hearing on DQ motion.                                          1.80         630.00
           Trustee v. Goldstein                                                                350.00/hr

 11/4/2017 Prepare discovery plan and memorandum to defendants re same.                          0.20          70.00
           Trustee v. Goldstein                                                                350.00/hr

 11/6/2017 Prepare, file and serve motion and order to continue hearing and memorandum to        0.20          70.00
           JK.                                                                                 350.00/hr
           Trustee v. Goldstein

11/26/2017 Finalize, file and serve discovery plan.                                              0.20          70.00
           Trustee v. Goldstein                                                                350.00/hr

 12/6/2017 Review memorandum from SH re settlement and prepare memorandum re same.               0.10          35.00
           Trustee v. Goldstein                                                                350.00/hr

 12/9/2017 Prepare and serve R26 disclosure and memorandum re same.                              0.60         210.00
           Trustee v. Goldstein                                                                350.00/hr

12/11/2017 Work on redaction of documents and Finalize, file and serve R26 disclosure.           0.70         245.00
           Trustee v. Goldstein                                                                350.00/hr

12/20/2017 Work on court reporter for Goldstein deposition and prepare memorandum to SH.         0.50         175.00
           Trustee v. Goldstein                                                                350.00/hr

12/28/2017 Work on FL reporter for deposition.                                                   0.20          70.00
           Trustee v. Goldstein                                                                350.00/hr




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                                                                                              Hrs/Rate       Amount

12/29/2017 Prepare, file and serve deposition notice re Goldstein and finalize arrangements        0.30          105.00
           with FL reporter.                                                                     350.00/hr
           Trustee v. Goldstein

 1/10/2018 Prepare for and attend status hearing.                                                  1.10          385.00
           Trustee v. Goldstein                                                                  350.00/hr

 1/11/2018 Review minute entry re status hearing.                                                  0.10           35.00
           Trustee v. Goldstein                                                                  350.00/hr

            Review memorandum from SH re hearing and prepare response.                             0.10           35.00
            Trustee v. Goldstein                                                                 350.00/hr

 1/18/2018 Assemble information for deposition and prepare memorandum to court reporter            1.10          385.00
           re same.                                                                              350.00/hr
           Trustee v. Goldstein

 1/23/2018 Review memorandum from SH re call in for deposition and prepare response.               0.10           35.00
           Trustee v. Goldstein                                                                  350.00/hr

            Telephone conference with court reporter re deposition.                                0.10           35.00
            Trustee v. Goldstein                                                                 350.00/hr

 1/24/2018 Prepare for and conduct deposition of Goldsteins.                                       2.50          875.00
           Trustee v. Goldstein                                                                  350.00/hr

 1/31/2018 Research avoidance of lien under 522.                                                   0.70          245.00
           Trustee v. Goldstein                                                                  350.00/hr

 2/22/2018 Review memorandum from AT re deposition and prepare response.                           0.10           35.00
           Trustee v. Goldstein                                                                  350.00/hr

 3/22/2018 Prepare memorandum to SH re sham transaction claim.                                     0.20           70.00
           Trustee v. Goldstein                                                                  350.00/hr

            Review memorandum from SH and prepare and serve amended Rule 26                        0.30          105.00
            disclosure.                                                                          350.00/hr
            Trustee v. Goldstein

            Research re sham transactions and prepare memorandum to SH re same.                    0.90          315.00
            Trustee v. Goldstein                                                                 350.00/hr

 4/24/2018 Work on discovery response and prepare memorandum to trustee re same.                   3.10         1,085.00
           Trustee v. Goldstein                                                                  350.00/hr

  6/5/2018 Prepare for and attend status hearing.                                                  1.40          490.00
           Trustee v. Goldstein                                                                  350.00/hr




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                                                                                            Hrs/Rate       Amount

  7/6/2018 Research scope of privilege waiver.                                                   0.50          175.00
           Trustee v. Goldstein                                                                350.00/hr

 7/30/2018 Work on revisions to motion for summary judgment response and statement of            1.80          630.00
           facts.                                                                              350.00/hr
           Trustee v. Goldstein

           Work on draft of response to motion for summary judgment and statement of             7.70         2,695.00
           facts.                                                                              350.00/hr
           Trustee v. Goldstein

  8/2/2018 Telephone conference with trustee re declaration.                                     0.20           70.00
           Trustee v. Goldstein                                                                350.00/hr

           Review memoranda from SH re cross motions and prepare responses.                      0.20           70.00
           Trustee v. Goldstein                                                                350.00/hr

           Finalize, file and serve response to motion for summary judgment and statement        0.50          175.00
           of facts.                                                                           350.00/hr
           Trustee v. Goldstein

  8/4/2018 Review motion to strike and research, prepare, file and serve objection.              2.40          840.00
           Trustee v. Goldstein                                                                350.00/hr

 8/10/2018 Review memorandum SH re source of document and prepare response.                      0.10           35.00
           Trustee v. Goldstein                                                                350.00/hr

 8/18/2018 Review order denying motion to strike.                                                0.10           35.00
           Trustee v. Goldstein                                                                350.00/hr

 8/31/2018 Prepare, file and serve reply re XMSJ.                                                2.10          735.00
           Trustee v. Goldstein                                                                350.00/hr

 10/5/2018 Prepare for and attend hearing on summary judgment motion.                            2.50          875.00
           Trustee v. Goldstein                                                                350.00/hr

 10/6/2018 Prepare motion to approve settlement and memorandum re same.                          0.50          175.00
           Trustee v. Goldstein                                                                350.00/hr

 10/8/2018 Review memorandum and signed settlement and file motion and prepare and file          0.30          105.00
           notice re same.                                                                     350.00/hr
           Trustee v. Goldstein

10/13/2018 Review BNC certificate of mailing re settlement.                                      0.10           35.00
           Trustee v. Goldstein                                                                350.00/hr




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                                                                                         Hrs/Rate            Amount

 11/3/2018 Prepare certificate, order and notice regarding settlement.                         0.30            105.00
           Trustee v. Goldstein                                                              350.00/hr

 11/7/2018 Review settlement order and prepare memorandum to trustee re payment.               0.10              35.00
           Trustee v. Goldstein                                                              350.00/hr

11/26/2018 Review memorandum from trustee and Prepare, file and serve dismissal order.         0.20              70.00
           Trustee v. Goldstein                                                              350.00/hr


            SUBTOTAL:                                                                    [    42.10          14,735.00]

            For professional services rendered                                                87.00      $30,450.00

                Additional Charges :

                Filing Fees / Cost Advance

  2/7/2018 Transcript.                                                                                         714.55
           Filing Fees / Cost Advance

  4/2/2018 Transcript Trudi A.                                                                                 455.65
           Filing Fees / Cost Advance


            SUBTOTAL:                                                                                    [    1,170.20]

            Total additional charges                                                                         $1,170.20


            Total amount of this bill                                                                    $31,620.20


            Balance due                                                                                  $31,620.20




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